Case 2:10-cv-01823-JLR Document 239-1 Filed 03/30/12 Page 1 of 5




        Exhibit 1
             Case 2:10-cv-01823-JLR Document 239-1 Filed 03/30/12 Page 2 of 5


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                                  SUlVilViARY OF AVC/H.264 LiCENSE TERlViS·




     The AVe Patent Portfolio License is divided into two principal parts (see Diagram): (a)
     sublicenses granting the right to manufacture and sell Ave encoders and decoders with
     the right of End Users to use them for personal and consumer (including internal
     business) purposes without remuneration but not for other uses (left half of the
     Diagram)2, and (b) sublicenses granting video content or service providers the right to use
     decoders and encoders for other uses of Ave Video (right half of the Diagram)'

     Further; the (a) sublicenses are divided roughly into two subcategories. (1) sublicense for
     branded encoder and decoder products soid both to End Users and on an OEM basis for
     incorporation into personal computers but not part of a personal computer operating
     system 4 and (2) sublicense for branded encoder and decoder products sold on an OEM
     basis for incorporation into personal computers as part of a personal computer operating
     system. 5 The (b) sublicenses are also divided roughly into two subcategories: (1) where
     an End User pays directly for video services, i.e., on a Title-by-Title or Subscription
     basis', and (2) where remuneration is from other sources, i.e.,Free Television Ave
     Video (AVe Video which constitutes television broadcasting sent to an End User by an
     over-the-air, satellite and/or cable Transmission, and which is not paid for by an End
     User) and Internet Broadcast AVe Video (AVe Video that is delivered via the
     \Vcrld\\ride Internet to an End User for \vhich the End User does not pay



     I The licensing terms summarized helmvarc for informational purposes only. They arc not an offer to license and may
     not be relied upon for any purposc. The Ave Patent Portfolio License provides the actual terms ofliccnsc 011 \vhich
     Llf>ers may rely


     2 SeGtions 2.1 and 2.6 or the Ave Patenl Portfolio License


     3 Section:. 2.2, 2.3, 2.4 anel2.S of the   Ave P<ltcnt Portfolio Liccn:.e

     ·1 Section 2.1 of the   Ave Patent Portfolio Liecnsc

     5 Seetion 2.6 o[lhe AVe Palent Portfolio License



     6 Sections 2.2 and 2.3 of the AVe Patent Portfolio License




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       Case 2:10-cv-01823-JLR Document 239-1 Filed 03/30/12 Page 3 of 5



remuneration for the right to receive or view, i.e., neither Title-by-Title nor
Subscription)7

                   Diagram: The left side of the Diagram below refers to
                the (a) sublicenses, and the fight side orihe Diagnuu refer's
                                     to the (0) suoiicenses



                                                                                vVhcrc End User pays


                                                 Subscuptlon                    /


                                                             ritlc-by-Titlc

                         Ave
                       Codee
                     Man u/acture
                       and Sale                                   Tnlernel
                                                                 13roadcast


                                                      Free
                                             I   Televisiull           y      \Vhere Remuneration is
                                                                                from Other sOlln:e::;




Lf1 the case of the (a) sublicenses:

For (a) (1) branded encoder and decoder products sold both to End Users and on an OEM
basis for incorporation into personal computers but not part of a personal computer
operating system (a decoder, encoder, or product consisting of one decoder and one
encoder ~ "unit"), royaities (beginning January 1,2005) per Legal Entity are 0 - 100,000
units per year ~ no royaity (this threshold is available to one Legal .Entity in an aftliiated
group); US $0.20 per unit after tirst 100,000 units each year; above 5 million units per
year, royalty ~ US $0.10 per unit. The maximum annual royalty ("cap") for an Enterprise
(commonly controlled Legal Entities) is $3.5 million per year 2005-2006, $4.25 million
per year 2007-08, $5 million per year 2009-10, and $6.5 million per year in 2011-15 8

for (a) (2) branded encoder and decoder products sold on an OEM basis for incorporation
into personal computers as part of a personal computer operating system, a Legal Entity



, Seetions 2.4 and 2.5 of Lhe Ave Palenl Portfolio License

8 Section 3.1.1 of the AVe Patent Portfolio License




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       Case 2:10-cv-01823-JLR Document 239-1 Filed 03/30/12 Page 4 of 5



may pay for its customers as follows (beginning January 1,2005): 0 - 100,000 units/year
~ no royalty (available to one Legal Entity in an atliliated group); US $0.20 per unit after
first 100,000 units/year; above 5 million units/year, royalty ~ US $0 10 per unit The
maximum annual royalty ("cap") for an Enterprise (commonly controlled Legal Entities)
is $3.5 million per year in 2005-2006, $4.25 million per year in 2007-08 and $5 rnillion
                                                           9
per year in 2009-10, and $6.5 million per year In 2011-15.

In the case of the (b) sublicenses:

For (b) (I) where an End User pays directly for video services on a Title-by-Title basis
(e.g., where viewer detennines Titles to he viewed or numher of viewahle Titles is
otherwise limited), royalties for video greater than 12 minutes (there is no royalty for a
Title 12 minutes or less) are (beginning January 1,2006) the lower of2% of the price
paid to the Licensee (on first Arms Length Sale of the video) or $0.02 per Title
(categories of Licensees include Legal Entities that are (i) replicators of physical media,
and (ii) service/content providers (e.g., cable, satellite, video DSL, internet an.d mobile)
afVOD, PPV and electronic dovvnloads to End IJsers).10 \Vhere an End IJser pays
directly for video services on a Subscription-basis (not ordered or limited Title-by-Title),
the applicable royalties per Legal Entity payable by the service or content provider are
(beginning January 1,2006) 100,000 or fewer Subscribers during the year ~ no royalty;
greater than 100,000 to 250,000 Subscribers during the year ~ $25,000; greater than
250,000 to 500,000 Subscribers during the year ~ $50,000; greater than 500,000 to
1,000,000 Suhscrihers during the year ~ $75,000; greater than 1,000,000 Suhscrihers
during the year ~ $100,000 11

For (b) (2) where remuneration is from other sources, in the case of Free Television
(television broadcasting which is sent by an over-the-air, satellite and/or cable
Transmission, and ",'hich is not paid for by an End User), the Licensee (broadcaster
which is identified as providing Free Television AVe Video) pays (heginning January 1,
2006) according to one of two royalty options: (i) a one-time payment of$2,500 per AVe
transmission encoder (applies to each Ave encoder which is used by or on behalf of a
Licensee in transmitting AVe Video to the End User) or (ii) annual fee per Broadcast
        12
Ivlarkei starting at $2,500 per calendar year per Broadcast lViarkets of at least 100,000
but no more than 499,999 television households, $5,000 per calendar year per Broadcast
Market which includes at least 500,000 hut no more than 999,999 television households,
and $10,000 per calendar year per Broadcast Market which includes 1,000,000 or more



9 SeGtion 3.1.6 ol"the AVe Patent Portt"olio License


10 Section 3.l.2 ofthe AVe Patcnt Portfolio Liccnsc



II Section 3.1.3 ofthe AVe Patent Portfolio License


12 "nroadcast Market" reters to the "geographic area \\·ithin \\-'hich an Fnd User could Uf..e an AVe Decoder to vie\\-'
.hec TeleYi~ion AVe Video sent by a single transmitter or h'ansmittcr ~imultancously "\vith rcpeatcr~ by a ~ingle Legal
Entity." Section 1.15 of the Ave Patent Portfolio Liccnsc.




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          Case 2:10-cv-01823-JLR Document 239-1 Filed 03/30/12 Page 5 of 5



television households. 13 In the case of Internet Broadcast Ave Video (AVe Video that
is delivered via the Worldwide Internet to an End User for which the End User does not
pay remuneration for the right to receive or view, i.e, neither Title-by-Title nor
Subscription), there will be no royalty for the life of the License. '4

in the case of the (b) sublicenses, the maximum annual royalty ("cap") for an Enterprise
(commonly controlled Legal Entities) is $35 million per year in 2006-07, $4.25 million
per year in 2008-09 and $5 million per year in 201 0, and $6.5 million per year in 2011-
15.15

The first tenn of the License runs through 2010, but the License will be renewable for
successive five-year periods for the life of any Portfolio patent on reasonable terms and
conditions which may take into account prevailing market conditions, changes in
technological environment and available commercial products at the time, but for the
protection oflicensees, royalty rates applicable to specific license grants or specific
licensed products \:vill not increase by more than ten percent (1 O~0) at each reneV,lal,16, 17




13 Section 3_1.4 ofthc Ave Patent Portfolio Liecnsc_ It is recognized th8t broadc8o;tcrs in developing countries m8Y
h3ve difierenl eircllmslam~es lo be considered. It is also re!.:ognized lhallhere 1113Y be Ave Video services that qualify
a~ l'ree Te1e,·if..ioll A VC Video rather than Subscription AVe Video or Title-by-Tit1e AVe Video "\vhere a nominal (but
IJU Ut11\';l) paYIIll:ul i::; Il,;llUill:d UI wh\.:1\'; ulbl:! ldI..:Villl[L:iII:UIlI::;[alll,;\,;::; iakill),! iulu m;\:uuullbl: llalull: uf lb\: vidl.:u :'l:1 vil:l:
may apply.

14 Section 3.l.5 ofthc J\ VC Patcnt Portfolio Liccnsc


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     Sections 3.1.2, 3.1.3, 3.1.4 and 3.1.7 of the 1\ VC Patent Portfolio License

10 Section 6.1 of the       Ave Patent Portfolio Licen::;e

17 Annual royalty caps are not subject to the Ion,;. limitation




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